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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
                          ______________

CRYSTAL HERMIZ,

                  Plaintiff,                    Case No.
                                                Hon.
vs.

CREDIT ACCEPTANCE CORPORATION,
a Michigan corporation,

                  Defendant.
                                          /
Carol A. Laughbaum (P41711)
Brian J. Farrar (P79404)
Attorneys for Plaintiff
STERLING ATTORNEYS AT LAW, P.C.
33 Bloomfield Hills Pkwy., Ste. 250
Bloomfield Hills, MI 48304
(248) 644-1500
claughbaum@sterlingattorneys.com
bfarrar@sterlingattorneys.com
                                          /

                COMPLAINT AND JURY DEMAND

      Plaintiff, Crystal Hermiz, by her attorneys Sterling Attorneys at Law,

P.C., for her Complaint against Defendant, submits the following:

                      JURISDICTION AND PARTIES

      1.    This is an action for pregnancy/sex discrimination in violation of

Michigan’s Elliott-Larsen Civil Rights Act, MCL 37.2101 et seq.; and for

violations of the Family and Medical Leave Act, 29 USC 2601 et seq., arising

out of Plaintiff’s employment relationship with Defendant.
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       2.    Plaintiff Crystal Hermiz is a resident of White Lake, Michigan,

 within the Eastern District of Michigan.

       3.    Defendant Credit Acceptance Corporation is a Michigan

 corporation that maintains its principal place of business in Southfield,

 Michigan, within the Eastern District of Michigan.

       4.    The events giving rise to this cause of action occurred within the

 Eastern District of Michigan.

       5.    This Court has jurisdiction of Plaintiff’s claims pursuant to 28

 USC 1331 (federal question), and 28 USC 1367 (supplemental jurisdiction).

                            BACKGROUND FACTS

       6.    On or about July 30, 2012, Plaintiff Hermiz became employed by

 Defendant as a Credit Analyst.

       7.    In April 2015, Plaintiff Hermiz was promoted to Senior Credit

 Analyst.

       8.    Throughout her employment with Defendant, Plaintiff performed

 her job duties in a manner that was satisfactory or better.

       9.    In fact, in its monthly rankings, Defendant consistently ranked

 Plaintiff as the #1 or #2 analyst in the entire department (of 85 analysts).

       10.   In late 2014, Plaintiff moved to a new team within her department

 and began reporting to a new manager, Regina Lee.



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       11.   At that time, Plaintiff was suffering from migraines and was

 intermittently using time under the Family Medical Leave Act (“FMLA”) to

 cope with her symptoms.

       12.   Previously, Defendant’s Human Resources Department had

 approved Plaintiff use of up to two days of FMLA leave per week.

       13.   Lee repeatedly expressed disapproval with respect to Plaintiff

 taking intermittent FMLA leave. Among other comments, Lee told Plaintiff,

 “I can’t just let you leave when you want,” and informed Plaintiff that she

 could not take a full day of FMLA leave, but was restricted to taking a

 maximum of four hours of time off on any given day.

       14.   Plaintiff reported Lee’s comments to HR, who advised Plaintiff

 that she was being too sensitive. Due to Defendant’s hostility and/or

 indifference to Plaintiff’s FMLA needs, Plaintiff often reported to work and/or

 continued to work while experiencing debilitating migraine headaches.

       15.   In early July 2016, Plaintiff Hermiz informed Ms. Lee that

 Plaintiff was pregnant, with a due date in in March 2017.

       16.   Plaintiff also advised Ms. Lee that she would be requiring FMLA

 leave due to her pregnancy.

       17.   March is typically one of Defendant’s busiest seasons.

       18.   On July 13, 2016, at approximately 5:05 p.m., Lee sent an email to

 her team requesting that they stay late to assist another team.

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         19.   Plaintiff and Lee had a prior arrangement under which they agreed

 that Plaintiff’s workday ended at 5:30 p.m., consistent with Plaintiff’s childcare

 arrangements.

         20.   On July 13, 2016, Plaintiff left work at her usual, pre-approved,

 time.

         21.   On July 14, 2016, Plaintiff met with Lee and another supervisor

 for Plaintiff’s monthly performance evaluation. Plaintiff received a rating of 5,

 the highest score possible.

         22.   During that meeting, Lee asked Plaintiff why she had left “early”

 the previous day. Plaintiff responded that she left at her usual time and was not

 able to make other arrangements upon receiving Lee’s email near the end of

 the day.

         23.   Plaintiff also reminded Lee that she frequently worked late, but

 was unable to do so the prior day.

         24.   Lee became angry and loud, and called Plaintiff a “liar.”

         25.   Plaintiff stated that she was uncomfortable with the tone of the

 meeting and Lee’s obvious hostility toward her, and asked to be transferred to

 another team. Plaintiff’s request to move to another team, and offer to step

 down to an Analyst position were denied.

         26.   On July 21, 2016, Defendant fired Plaintiff on the purported basis

 of “job abandonment.”

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                                          COUNT I

                           Pregnancy/Sex Discrimination
                       Michigan’s Elliott Larsen Civil Rights Act

       27.    Plaintiff incorporates the preceding paragraphs by reference.

       28.    At relevant times, Plaintiff was an employee and Defendant was

 her employer covered by and within the meaning of Michigan’s Elliott-Larsen

 Civil Rights Act (“ELCRA”), MCL 37.2201.

       29.    Michigan’s ELCRA prohibits sex discrimination, which includes

 discrimination on the basis of pregnancy and childbirth. MCL 27.2201(d).

       30.    Defendant’s treatment of Plaintiff, as described above, was based,

 at least in part, on unlawful consideration of her pregnancy.

       31.    Defendant and Plaintiff’s supervisors were predisposed to

 discriminate against Plaintiff based on her pregnancy.

       32.    The actions of Defendant and Plaintiff’s supervisors were

 deliberate and intentional, and engaged in with reckless indifference to the

 rights and sensibilities of Plaintiff.

       33.    As a direct and proximate result of Defendant’s wrongful and

 discriminatory treatment of Plaintiff, she has suffered injuries and damages,

 including but not limited to, loss of past, present and future earnings and

 earning capacity; loss of the value of fringe and pension benefits; mental and

 emotional distress, including anxiety and mental anguish, humiliation and


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 embarrassment; and the loss of the ordinary pleasures of everyday life,

 including the right to seek and pursue gainful occupation of choice.

                                     COUNT II

                      Family and Medical Leave Act Violations

       34.    Plaintiff incorporates the preceding paragraphs by reference.

       35.    At all relevant times, Plaintiff was an employee and Defendant

 was her employer by and within the meaning of the Family and Medical Leave

 Act (FMLA), 29 USC 2601 et seq.

       36.    At relevant times, Plaintiff was engaged in an activity protected by

 the FMLA.

       37.    At relevant times, Defendant knew the Plaintiff was exercising her

 rights under the FMLA.

       38.    Defendant unlawfully and wrongfully retaliated against Plaintiff

 for exercising her rights under the FMLA by harassing her and terminating her

 employment.

       39.    The actions of Defendant were deliberate and intentional, and

 engaged in with reckless indifference to the rights and sensibilities of Plaintiff.

       40.    As a direct and proximate result of Defendant’s wrongful and

 discriminatory treatment of Plaintiff, she has suffered injuries and damages,

 including but not limited to, loss of past, present and future earnings and

 earning capacity; loss of the value of fringe and pension benefits; mental and

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 emotional distress, including anxiety and mental anguish, humiliation and

 embarrassment; and the loss of the ordinary pleasures of everyday life,

 including the right to seek and pursue gainful occupation of choice.

                             RELIEF REQUESTED

       For all the foregoing reasons, Plaintiff Crystal Hermiz demands

 judgment against Defendant as follows:

       A.    Legal Relief:

             1.    Compensatory damages in whatever amount she is found to
                   be entitled;

             2.    Exemplary damages in whatever amount she is found to be
                   entitled;

             3.    Liquidated damages in whatever amount she is found to be
                   entitled;

             4.    A judgment for lost wages and benefits in whatever amount
                   she is found to be entitled;

             5.    An award of interest, costs and reasonable attorney fees; and

             6.    Whatever other legal relief appears appropriate at the time of
                   final judgment.

       B.    Equitable Relief:

             1.    An injunction out of this Court prohibiting any further acts
                   of wrong-doing;

             2.    An award of interest, costs and reasonable attorney fees; and

             3.   Whatever other equitable relief appears appropriate at the
                  time of final judgment.


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                                   JURY DEMAND

       Plaintiff Crystal Hermiz by her attorneys Sterling Attorneys at Law,

 P.C., requests a trial by jury.

                                   Respectfully submitted,

                                   STERLING ATTORNEYS AT LAW, P.C.

                                   By:   /s/Carol A. Laughbaum
                                         Carol A. Laughbaum (P41711)
                                         Brian J. Farrar (79404)
                                         Attorneys for Plaintiff
                                         33 Bloomfield Hills Pkwy., Ste. 250
                                         Bloomfield Hills, MI 48304
                                         (248) 644-1500


 Dated: November 18, 2016




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